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B 7 (Off`tcia] Fotrn T) (DUI'D)

UNITED STATES BANKRUPTCY COURT

h mi Brackin, Edgar Jr. , Ca.~;e No.
n l (if|roo\vn]

 

STATEMENT OF F]NANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may tile a single statement on which
the information for both spouses is combined lt` the case is filed under chapter 12 or chapter 13, a married debtor must fto'nish
information forboth spouses whetherornotajoint petition is filed,uolessthespousmaresepm'atedandajointpetitionisnot
filed. An individual debtor engaged in business as a sole proprietor, parh'rer, t`amily farmo', or self-employed professional,
should_provide the information requested on this statement concerning all such activities well as the individuals personal
all`airs To indicate payments, transfers and the like to minor children, state the child‘s initials and the name and address of the
clt`tld's parent or guardian such as "A.B., a minor child, by John Doe, goar'djarl." Do not disclose the child's name. See, ll U.S.C.
§112 and Fed. la Bmkr. P. lum{m).

Questions l - 18 are to be completed by all debtors Debtors that are or have been in bushiess, as defined below, also
must complete Qucstions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "Nolre." If`
additionajspaceis needed fortheanswertoany quastion,useand attadraseparatesheetpmperly iderrtiiied\rriththecasename,
case number (ifkno\m)., and the number of the question

DEFINH?ONS

"lrr business." Adebtoris "inbusiness" forthepm'poseoft:his form ifthedebtorisamrpotationorparmership. An
individual debtor is "in businew" for the purpose ofthis form lfthe debtor is or has been, within six years immediately preceding
the liling of this bankruptcy case, any cf the following an ofiicer. director, managing executive orowner of§ percent or more
ofthe votingorequity secm'itiesofa corporation;apartner,othcrthanalirnited parmer,ofaparmership;asole proprietaorcr
self-employed hill-time or part-time An individual debtor also may be “in business” for the purpose ofthis form iftbe deinor
engages in s trade, business or other activity, other than as an employee, to supplement income from the debtor’s pr'hnary
employment

"lnstder. " The term "insider" includes but is not limited to: relatives of the debtor, general partners of the debtor and
their relatives; corporations of which the debtor is an ol’liwr, dit`ector, or person in control; officers directors, and my owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such 'ai`liliates;. any managing agent of the debtor. l l U.S.C. § lOl.

 

l. locome from employment or operation of bosioem

Nan= State the gross amount of income the debtor has received from employment, trade, or profession or horn operation of

m the debtors business, including parr-time activities either as an employee or in independent trade or business from the
beginningofthiscalendaryeartothedatethiscasewasccmncnced. Statealsothegrossamormtsreceiveddmingthe
two years irmnediately precedingthis calendar year. (A debtor that maintaios, or has maintained financial records on
the basis ofa fiscal rather than a calendaryear may report Es'ca] year incorne. Identify the beginning and ending dates
cf the debtors lisca| year.} If ajclnt petition is filed, state income for each spouse scpara.tely. (Man~ied debtors iiling
underchapter lZordraptq' 13 muststateincome ofbothspouseswhetherornotajointpet:itionis liled,rmles.sthe
spouses are separated and ajoint petition is not ti|ed.)

AMOUN'T SOURCE

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2. Iocome other than from employment or operation of business

State the atnotmt ol` income received by the debtor othu' than from employan trade, profimion, operation of the
debtors business during the two years immediately preceding the cormnencemml of this case. Give particulars If a
joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
must state inc\:rme for each spouse whether or not ajoint petition is ftled, unless the spouses are separated and ajoint
petition is not E]ed.)

mi

AMOUNT SOURCE

 

3. Paymenls to creditors
Conpt'et"e n. or h., as qrproprr'ore, and c.

l:l a. Indivr'dnal orj'ot'm debtor(s) widrprimarr`ly consumer dcb!s: hist all payments on |oans, installment purchmes of
goods orscrvices, and otherdebtsto any creditorn:tade within Wdlp.immediately precedingthe commencement of
driscasetm|ess the aggregatevalue ofallpropertythat ccnstituterorisal&"ec_tedby suchtransferislessdran$éol).
lndicate with an asterisk (°) any payments that were made to a creditor on account of'a domestic support obligation or
as part ofan alternative repayment schemrlelmderap_lzm by an approvednonprof'rt budgeting and credit cotmseling
agency. (Married debtors E]ingundercbapter lZorchapter 13 must htcludepaymentsbyeitherorbothspouses
whether or nor a joint petition is liled, unless the spouses are separated and a joint petition is not filed.)

NAM]E AND ADDRESS OF CREDITOR DATES OF AMOUNT AM()UNT
PAYMENTS PAID STILL OWTNG

American Gerlera`| 1!15{10,' 2115!10;3!15!1 0 1 ,227.40

None

i:l b. Debror whose debts are nor primari{y consumer debts: List each payment ar other transfer to any creditor made
within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
constitutes or is affected by such transfer is less than 55,850°. If` the debtor is an individual, indicate with an-astcrisk
(*) any paymentsthatweremadetoacreditoronaccotmtofadomesticsupportobligaricoorm partof`an alternative
repayment schedule undera plan by an approved nonmofitbudgetingand credit cmmselingagmcy. (Marrieddebtors
filing underchapter 12 orchapter 13 must include payments andothern'ansfers by eitherorboth spouseswhetheror
not ajoint petition is filed. tmless the spouses are separated and ajoint petition is not filed.)

NAME AND ADDRESS OF CREDIT()R DATES OF AMOUNT AMOUN"I`
PAYMENT_S)' PAlD OR STILL
TRANSFERS VALUE OF O\VENG
TRANSFERS

 

l‘An»rornn‘ subject to adjustment on M.'lr'/IJ, and every three years thereafter with respect to cases mmnced on or
oji‘er the date qfa¢f'jastmenr_

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c. AH debtors List all payments made within one year irmnediately preceding tire commencement of this case
toorforthebenei:`rt ofu'editorswhoareorwereinsiders. (Marrieddebtors Elingmtderchapter lZorelrapter 13 must
include paymentsbyeitherorbothspouseswhetherornotajointpetition is tiled, unlm thespousesaresepmatedaad
ajoint petition is not filed_)

NAME AND ADDRESS OF CREDITUR DATE OF AMOUNT AMOUNT
AND RELATIONSH]P TO DEBTOR PAYMENT PA[D STILL DWING

 

4. Su‘rts and administrative proceedings execution garnishments and attachments

a. List all suits andadministmtive proceedings to which the debtor isor was aparty within one year immediately
pre<:edingtltelil:ing ofthishankruptcya-c. (Marrieddebtora filinglmderehapter l2orchapter 13 must include
mformat:ioo emmingeithu'orbothspouseswhezherornotajoimpenrimisdled, unlaardrespouse;al'¢.$¢pwawd
and ajointpetition is not tiled.}

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CAP’I'ION OF SU]'I` COURT OR AGENCY STA'IUS OR
AND CASE NUMBER NATURE OF PROCEEDING AND L()CATION DISPOSITION

Audrey Nick|en v. Edgar contractual dispute Hillsborough Circuit on appeal
Brackin, 08-261 2511 Court

Non¢ b. Descrihe all property thathasbeenattached,gamishedorseized tmdereny legalorequitableprooasswithin one

El ymimm=aimypmoedingmemnmmofmism. manageriame ming-mdsmpm norm 13
must include information womningmopertyofeltha'mbodrspouseswhedrerornmajointpeddonis§|e¢ unless
thespousesareseparatedandajointpetitionisoottiled.)

NAM.E AND ADDRESS DESCR[FTION
OF PERSON F(_)R WHOSE DATE OF AND VALUE
BENF,F.IT PROPER'!'Y WAS SE.[ZED SElZUR.E OF PROPF.RTY

 

5. Reposassiolts. lhredosurel and returns

Nm Listallpropertythathmbeenrepc)ssessedbyau'editor,soldataforeclosuresale.transferrcdthmughadeedinlieu

U of foreclosure orreturnedto the seller, within one yearinunadiately precedingtheoormnenoementof this mse.
(Marrieddebtots filing under chapter 12 orchapter 13 must include information conceming property ofeitherorbottr
spouses whetheror not ajoint petition is tilad. milasethespotmecare separated andajoint petition is nottiled.}

DA'I'E OF REPOSSESSION, DFSCRIPTION
NAME AND ADDRESS FORECLOSURE SALE, AND VALUE
OF CREDI'I`OR OR SELLER TRANSFER OR RETURN OI~` PROPERTY
Amorican Honda Finance, SR-A Ass, |nc. Honda

401 Minnetol'lka Rd,HinBlla, NVCBOB3 02!1 212010

 

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E c. Aildebrors: List all paymentsmadewithin one yearimmedist¢iy- precedingthecommeneementof thiscase
loorforthebmeiitofm'editutswhom'eorweieinsidu's. (Marrieddebtnrsfiliogmderehopterl?.orehapterl§imust
includepaymentsbyeitherorbodlspouseswhedzerornotajoiotpetitionis£]ed,cmleasdiespoummeseparamdaod

ajoint petition is not EietL)
NAME AND ADDRESS OF CREDITOR DATE OF AMOUN'I' AMOUNT _
AND RELAT]ONSHIP TO DEBTOR PAYM]:`.NT PAlD STII-.L OWTNG

 

4. Suits old administrative pmceedings, execuan gamishmenls and attachments

None a. List all Si.lif.s md administrative proceedings to \\fhich the debtor is or was a party within one y-r immediately
Ei pmwaingm¢mingormis mik»u¢n¢y me. (Mamedd=bm mme norm lsm.mincluae
information meaning eitherorboth spouseswhethuorootajoin_tpeiition is Hled, unlessthespouses are separated
and ajo‘mr petition is nor &wd.)
CAP'ITON OF SUlT COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF ?ROCEEDING AND LOCA'I'ION DISPOSI'I`]ON
Pal..l_l RObel“tS v. Ed=gal' BTHBkin, contractual dlSpUiB Hillsbomugh Circuit Pel"lding
09-03086. Division H COurl

None b. Dem’ibeallpmpenydmthubeenanadied,gamishedorseimdcmderanyiegalorequimblepmoesswithinou

l:l year immediately preceding the commencement ofthis ease (Manied debtors filing underd'lap¢er 12 or chapter 13
mustincludeinformationmneemingpmpertyofeidmorbodlspouseswhetherorootajoimpetitimisiiled,unkm
thespousesm'esepumedandajoimpetitimlisnotfiled.)

NAME AND ADDRESS DESCRIPTION
OF PERSON FOR WHOSE DATE OF AND VALUE
BENEFI'I` PROPERT\' WAS SEIZED SElZUR.E OF PROPERTY

 

5. Repomessions, foreclosures and returns

None Lislallgopmtywabashemrepossemedbyaa'ediwr,soldataforedosmesale,mswedthroughadeedinlieu

n efforeclosm'ewreumiedtotheseller, within one year immediately pl'eoed.ingthe commencement of this eme_.
(Man'ied debtors filing under chapter lZorchapter 13 must include information conundngpmpertyofeitherorbodl
spouseswhetheroroot ajnint petition is Hled. lmlmthespousesmsepmmedandajointpetitionisnotfiled.)

DA'['E OF REPOSSESSION, DESCRIFT[ON
NAME AND ADDRESS FORECLOSURE SALE, AND \"ALUE
O‘F CREDITOR OR SELLER TRANSFER OR RETURN OF PROPERTY

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c. Aii debtors: List all payments made within one year immediately preceding the commencement of this case
toorf`orthebenetitofczeditorswboarcorwereinsiders. (Marrieddebtorsfilingmiderdiapter llordmpter 13 most
include payments by either or both spouses whether or not ajoint petition is filed. unless the spouses are separated and
a joint petition is not filed.)

NAME AND ADDRESS OF CREDI'TOR DATE OF AMOUNT AMOUN']`
AND RELATIONSHIP TO DEBTOR PAYMENT PAID S'I'll.L OWING

 

4. Soita and administrative proceedings executions garnishments and attachments

a. List all suits and administrative proceedings to which the debtor is cr was a party within one year immediately
preceding the filing ofthis banlm.tptcy case (Married debtors filing maier chapter 12 or clmptcr 13 must include
information concerning either or both spouses whetheror not ajoint petition is Hled, unless the spouses are separated
and ajoint petition is not filed.)

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CAPI'ION GF SUTI` COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF PROCEED[NG AND LOCATION DISPOSIT!ON

Thomas Ca|houn v. Edgar contractual dispute Hil|sborough Circuit Pending
Brackin, 09-CA 1972? Court

must include information concerning property of either or both spousm whether or not ajoint petition is filed, lmlecs
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DESCRlPTlON
OF PERSON FOR WHOSE DA'I'E OF AND VALUE
BENEFIT PROPERTY WAS 'SElZED SEIZURE OF PROPERTY

 

5. Repossmioos, foreclosures and returns

Listall propmydmth$bemlepossmedby aueditor,soldataforeelnsmesalc, msferreddnoughadeediniieu
offoreclosm-oorretm*nedto the selier, within oaeye¢riimnediateiy prewdingdiecommencemem ofthiscase.
(Man'ieddehtors filing underchapter 12 orchaptu' 13 must include information concerning property cfeitherorboth
spouseswhetiier'ornot ajoint petition is tiled., unless the spouses_me separated and ajoint petition isnot filed.)

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DATE OF REPOSSESSION, DESCR[PT]ON
NAME AND ADDRESS FORECLOSURE SALE, AND VALUE
OF CREDITOR 011 SEL.LER TRA'NSFER OR RETURN OF PROPERT¥

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c. Aildebrors: List all paymentsmadewithin one yearirrunediately precedingthccommeocement of misuse
toorf`orlhebene{ilofu'editorswhoareorwereinsidexs. (Mm'ieddebtorsiiling\mderchapterlZorchapter 13must
includepaymmtshyeithcrorbothspouswwhedterornmajointpetitim is Eled, milessdiespousesareseparatedand
ajoint petition is not filedJ

NAME AND ADDRESS OF CREDITOR DATE OF AMOUNT AMOUNT
AND RELATIONSH]P TO DEBTOR PAYMENT PAlD STlLL OWING

 

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4. Suil:s and administrative proceeding ematiooa, gara'o|lmeuts and attachments

o. Lista.l|suitsandodministrativeproceed'mgatowhichthedebtorisorwmapartywithinooeyearimmediately
precedingthe filing ofthisbonlu'uptcycase. (Manieddebtors£ling under chapter 12 orctmpter 13 must include
infonnadoncmcerningeimerorbomspousmwhemerornotajointpetioonisii]ed,uu|easdiespomesm'esepamed
and ajoint petition isnotiiied.)

CAP'HON OF SUlT COURT OR AGENCY STATUS OR
AND CASE NUMBER N_ATURE OF PROCEEDING AND LOCAT!ON DISPOSITION

Galo Calvert v. Edgar Brackin, contractual dispute Hi|tsbornugh Circuit Pending
09-CA 022621 , Div. F Court

b. Describeallpropenythath$bemattached,gamisbedorseizedmderanylegaiorequitableprocmwithinone
year immediately preceding the commencement ofthis-cese. (Marrieddebtomfiling Lmder chapter l?_orchapterlfi
ml.istincludeini`ormat:ionconcuoingpmpmyofeidierorbodlspouseswhedlerornotajointpeuuonisEied,unless
diespousesareseparatedandajointpetitionisnotfiled_)

NAME AND ADDRESS DESCR]PTION
OF PERSON FOR WHOSE DATE OF AND VALUE
BENEFIT PROPERTY WAS SElZED SEIZURE OF PROPERTY

 

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5. Reposaesaious, foreclosures and returns

Listai]propa'tydtathasheeurep¢medbyaueditor,suidanaforeclnswesale,uausfenedtluoughadeediniim
of foreclosure orretm'nedto the seller, within ole year immediately preceding thecon:rmencement ofthis raise
(Marrieddeblm'stilingunderchapter |Zorchapter 13 must includeinformation ccneemingproperty ofeitherorboth
spouseswhetherornot ajoint petition isiiled, milessthespousesare separatedandajointpetitionisnolfiled.]

DATE OF REPOSSESSION, DESCRIFI'ION
NAME AND ADDRESS FOR.ECLOSURE SALE, AND VALUE
OF CREDITOR OR SELLER 'I'RANSFER O_R RE']URN OF PROPERTY

Honda

 

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c. All debrors.' List all payments made within one year immediately preceding the commencement ol` this case

to orforthe benefiiofcreditors who are orwere insiders. (Married debtors filing rmderehapter 12 orehapter 13 must
include payments by either orboth spouses whether or not ajoint petition is liled_. rmless the spouses are separated and
ajoint petition is not tiled.)

NAME AND ADD.RESS OF CRED[TOR I)ATE OF AMOUN'I` AMOUNT
AND RELATIONSl-HP TO DEBTOR PAYMENT PAiD S'[`ILL [)WING

 

4. Suit.s and administrative proceedings executions garnishments and attachments

a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
preceding the filing of this bankruptcy cnse. (Ma.rried debtors filing under chapter 1-2 or chapter 13 must include
information concerning either or both spouses whether ornot a joint petition is liled, uni the spouses are separated
and ajoint petition is not liled.}

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CAP'I`ION OF SUI'I` COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF PROCEED]NG AND LOCAT]ON DISPOSIT!ON

Audrey Nicklen v. Edgar contractual dispute i-lillsborough Circuit Pending
E|rackin, Jr. Court

Ncm¢ b. Describe_ all property that ha been attached, garnished or seized rmder any legal or equitable process within one

i:i year immediately preceding the commencement of this case. (Man'ied debtors filing under chapter 12 or chapter 13
must include information concerning property of either or both spouses whether or not ajoint petition is Hled, unless
the spouses are separated and a joint petition is not liled.)

NAME AND ADDRESS DESCRIPTION
OF PERSON FOR WHOSE DATE OF AND VALUE
BENEFIT PROPERTY WAS SEIZ.ED SEIZURE OF PROPERTY

 

5. Repossmsions, foreclosures and returns

Nome List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through adeed in lieu

m of foreclosure or returned to the seller, within oae year innnedistely preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 minn include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and ajoint petition is not liled.)

DA'I'E OF REPOSSESSION, DESCR]]’I'ION
NAME AND ADDR.ESS FORECLOSURE SALE, AND VALUE

OF CREDITOR OR SELLER TRANSFER OR RETURN OF PROPERTY

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&. Assignmeots and receiverships

a. Desoribe any assigommt of` property forthe benefit of u'edilors made within 120 days immediately precedirlgthe
commencement of this case. (Ma.rried debtors liling under chapter 12 or diaptq' 13 must include any assignment by
either or both spouses whether or not ajoint petition is filed, unless the spouses are separated and ajoint petition is not
filed.)

'I'ERMS OF
NAME AND ADDRESS DATE (JF ASSIGNMENT
OF ASSIGNEE ASS[GNMENT OR SETTLEMENT

b. l_.ist all property which has been in the hands oi`a custrl:lim, reoeiver, or court-appointed oflicial within one year
irm'nedia`tely preceding the commencement oftbis ease. [Married debtors `iiling lmder chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not ajoint petition is {'iled, unless the
spouses are separated and ajo_int petition is not t`lled_)

NAME AND l)OCATl()N DESCRIPT{ON
NAME AND ADDRESS DF COURT DATE OF AND VALUE
OF CUSTOD[AN CASE TlTLE & NUMBER ORDER OfPROPERT¥

 

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7. Gifts

Li$t all gilts or charitable contributions made within one year immediately preceding the commencement of this case
exoeptordinary mdmuaigihswfmnnymnnbusagglegatinglesstbm$wowvaluepumdi\ddual fmilymember
and charitable contributions aggregating less than 3100 per recipient (Married debtors filing under chapter 12 or
chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is l'lled, unless
the spouses are separated and a joint petition is not filed.)

 

None

NAME AND ADDRESS RELATIONSHlP DE-SCRIP'HON
OF PERSON TO DEBTOR, DATE AND VALUE
OR ORGANIZATION lF ANY OF GIFT OF GlFl'

8. Losses

List all losses li'orn tire, theft, other casualty or gambling within one year immediately preceding the commencement
ofthis case or since the commencement oft|r'u case (Married debtors tiling \mder diapter 12 or chapter 13 must
include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not iiied.)

DESCR[PTION DESCR[l-"I'ION OF C[RCUMSTANCES AND, IF
AND VALUE OF LOSS WAS COVERED IN WHOLE OR IN PART DATE
PROPERTY BY INSURANCE, GIVE PAR'I'ICULARS OF LOSS

 

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9. Payrnent.s related to debt counseling or bankruptcy

Listsllpayrnentsmadeorproperty transferredbyoroobehalfofthedebtortoanypcrsons, includingattorneys,for
consultation concerning debt consolidation relief under-the bankruptcy law or prq:aration of a petition in bankrtq:rtcy
within one year immediately preceding the commencement of this case.

DATE OF PAYMENT, AMOUNT OF MONEY OR
NAME ANI) A.DDRESS NAME OF PAYER lF DESCRIP'[`ION AND
OF PAYEE ()THER THAN DEBTOR VALUE OF PROPERTY

Dr. Be|inda Noah, Attomey 3!18)'10, $1,100.00
P. 0. Box 45635, Tampa, FL 33646 4!28110, $400.00

 

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|.Td'

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lll. Other transfers

a_ List all odrerpropea'ty,odrerdimrpopertynansferredindreordinarymmseoftbe busineasoriinancialaffairsof
the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
whether or not ajoint petition i`s l`iled, unless the spouses are separated and ajoint petition is not tiled.)

NAME AND ADDRESS OF TRANSFEREE, DESCRIBE PROPERTY
RELATIONSHIP TO DEBTOR TRANSFERRED AN`D
DATE VALUE RECElVE.D

b. List all property transferred by the debtor within ten years irrunediately preceding the commencement oftilis case
to 'a self-settled mist or similar device of which the debtor is a beneficiary

NAME OF TRUST OR OTHER DATE(S) OF AMOUNT OF M()NEY OR DESC]UPTION
DEVICE TRANSFER(S} AND VALUE OF PR()PERTY OR DEBTOR’S
INTEREST IN PROPERTY

 

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lI. Cloaed financial accounts

Lista!l financial accountsandinslrrnnentsheld inthe name ofthe debtororfortbebenef'itofdre debtorwhichwere
cfosed, sold., or otherwise transferred within one year immediately preceding the commencement of this case. include
diecking,savings, orodrer iinancia]accotmts, certiticatesofdeposit,orodierinsbuments;sharesandshmeccomns
heldirtbanks,creditunions,pensionfimds,cooperatives, associations,bmiceragebousmandodieriinmciai
institutions (Married debtors filing under chapter l2 or chapter 13 must include information concerning accounts or
instruments held by or for either or both spouses whether or not a joint petition is filed1 unless the spouses are
separated end ajoint petition is not filed.)

TYPE OF ACCOUNT, I_.AST FOUR AM(}UNT AND
NAM]E ANI) ADDRESS DlGlTS OF ACCO_UNT NUMBER, DATE OF SALE
OF INSTITUTION AND AMOUNT OF FI'NAL BALANCE OR CLOSING

Bank of America checking 12131:'09

 

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12. Safe deposit boxes

Listeachsafedepositorotherboxordepository in whichthedebtorhasorhadsectn'ities,cash,orotlrervaluables
within one year immediately preceding the commencement of this case. (Man'ied debtors filing under chapter 12 or
chapter 13 must include boxes or depositor'ies of either or both spouses whetheror not a joint petition is liled, unless
the spouses are separated and s joint petition is not filed)

NAME AND ADDRESS NAMF,S AND ADDRESSES DESCRIPTION DATE OF T'RANSFER
OF BANK OR OF THOSE WI'I'H ACCESS OF OR SURRENDER.
OTHER DEPOSITORY TO B{)X OR DEPOSI'[`ORY CONTENTS lF ANY

 

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13. Setoffs

List all setoffs made by any creditor, including a bank, against a debt or deposit ofthe debtor widrin 90 days preceding
the conunencerrrent of this case. (Man-ied debtors_ti|ing under chapter 12 or chapter 13 must include information
concerningeitberorbodrspouseswhedrerornotajointpetitimis{iled, unhmmesr)ousesareseparatedandajoint
petition is not liled.)

DATE OF AMOUNT
NAME AND ADDRESS OF CREDITOR SETOFF OF SETOFF

 

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14. Property held for another person
List all property owned by another person that the debtor holds or controls

NAME AND ADDRESS DESCRIFI'ION AND
OF OWNER VALUE OF PROPERTY LOCATION OF PROPERTY

 

None

IS. Prior- address of debtor

lf debtor has moved within three years immediately preceding the commencement of this case, list all premises
which the debtor occupied during that period and vacated prior to the commencement of this case. lf a joint petition is
filed,reporta[soanyscparateaddmss ofeitherspouse.

ADDRESS NAME USED DATES OF OCCUPANCY

 

 

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16. Spouses and Former Spous¢s

If the debtor resides or resided in a community property sme, commonwealth or territory (`rncluding Alaslra, Arizrona,
Califomia, Ida.ho, Louisiarra., Nevada., New Mexico, Puerto Rico, Texl, Washington, or Wis'consin) within eight
years immediately preceding the commencement ol` the case, identify the name of the debtor’s spouse and of

any former spouse who resides or resided with the debtor in the corrununity property state.

NAME

 

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l'l'. Environmental lnformation.
For the purpose of this question. the following definitions apply:

"Environmental Law" means any federal, state,_ or local statute or regulation regulating pollution, contamination
releases of hazardous or toxic substances wastes or material into the air, Iand., soi|., surface water, grotmdwater, or
other mediurn, including but not limited to, statutes or regulations regulating the cleanup of these substances wastes,
or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
t`ormrn'ly owned or operated by the debtor, including but not limited to, disposal sites

"Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
material\ pollutant1 or contarninant or similar term under an Environn'rentsl Law.

a. List the naruc and address of every site for which the debtor has received notice in writing by a governmental
unit that it may be liable or potentially liable under or in violation ofan Enviromnental Law. indicate the
governmental unit, the date of the notice, and, ifknown. the Envir'onmental l_.aw:

SFI`E NAME NAME AND ADDRESS DATE OF ENV]RONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NDTICE LAW

b. List the name and address of` every site for which the debtor provided notice to a governmental unit of a release
of llazardous Material. Indica'te the governmental unit to which the notice was sent and the date of the notice.

SITE NAME NAM`E AND ADDRESS D._ATE OF ENWRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNI'I` NOTICE LA‘W

c. List alljudicial or administrative proceedings, including settlements or orders, under any Environmental Law with
respect to which the debtor is or was a party. lndicste the name and address of the govemmenta] unit that is or was a party
to the proceeding and the docket number.

NAME AND ADDRESS DOCKE'I` NUMBER ST.-\'I`US OR
OF GOVERNMENTAL UNIT D_ISPOSITION

 

§§

18 . Natr.rre. location and name ol' business

a. ry'r}re debtor is orr indjvr'dnral_. list the narnes. addressess taxpayer-identilication numbers, nature of the businesses
and beginning and ending dates ol` all businesses in which the debtor was an ofl`ioer, director, partner, or managing

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executive cfa corporation, partner in a parmership, sole proprietor, or was self-employed in a trade, profession, or
other activity either falls or part-time within six years immediately preceding the commencement of this case. or in
which the debtor owned 5 percent or nrore of the voting or equity securities within six years immediately preceding
the commencement of this case.

l_'frire debtor is o partnership, list the narnes, addresses taxpayer-identification numbers. nature of the businesses
and beginningandendingdatesofallbusinessesinwhichthedebtcrwasapm'merorowned Spercentormore of
the voting or equity securities within six years inunediately preceding the commencement of this case.

yale debtor is o corporation, list the names, addresses taxpayer-identification numbers nature cf the businesses
and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
the voting or equity securities within six years immediately preceding the-comencement ol`this case.

LAST FOUR DIGI'I`S

OF SOClAL-SE(.`URITY BEGINNING AND
NAN[E OR O'I'HER lNDIVIDUAL ADDRESS NA'['URE OF BUSIN'ESS ENDING DATES

TAXPAYER-I.D. NO.

l'lTIN}t` COMPLETE EIN

sane b. Identify any business listed in response to subdivision a., _above, that is "single asset real estate" as
L__l defined in 11 U.s.c.§ 101.

NAME AI)DRE-SS

 

'l'he following questions are to be completed by every debtor'that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive cr owner of more than 5 percent of the voting or equity securities cfa corporation; a
partner. other than a limited parmer, of a partnership, a sole proprietor or self-employed in a trade profession or other activity,
either lirlI- or pan-time

(Ao individuol' or joint debtor should complete this portion q{tbe statement only {frbe debtor is or has been in
business as defined above within six years immediately preceding the commencement oftbr‘s cose. A debtor who has not been
in business within those six years should go direcer to tire signature poge.)

 

 

19. Boolts, records and linaneial statements

a. Lis_t all bookkeepers and accountants who within two years immediately preceding the liling of this
bankruptcy case kept or supervised the keeping of books of account and records ot` the debtor.

E|i

NAME AND ADDRESS DATES SERVICES RENDERED

None b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
E case have audited the books ol`accor.mt and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVlCES REN`DERED

§§

§§

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e. List all firms-or individuals who at the time of the commencement ofthjs case were in possession of the
books of account and records of the debtor. If` any of the books of account and records are not available, explain.

NAN[E ADDRESS

d, List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS DATE ISSUED

 

E'§

§§

20. lnventories

a. Listthedatesofdrelastt.woinvenwriesmkmofyotrpmperty,dtenmeofdrepersonndmsupervisedthe
taking of each inventory, and the dollar amount and basis ofeech inventory

DOLLAR AMOUN'I`
OF ENVENTORY
DATE OF INVENTORY [NV'ENTORY SU`PERV]SOR (Spe¢if)' 0051, market mother
basis)

b. List the name and address of the person having possession of the records of each of the inventories reported
in a., above.

NAME AND ADDRESSES
OF CUSTODIAN
DATE OF INVENTORY OF INVENTORY RECORDS

 

515

 

21 . Corrent l'artlers. Ollicer's, Direetors and Sltareholclen

a. Ifthe debtor is a partnership, list the nature and percentage of'partnership interest of each member of the
parmership.

NAME AND ADDRESS NA'I'-URE OF l]'~JTEREST PERCENTAGE OF [N'I'EREST

b. Ifthe debtor is a corporation, list all ofEcers and directors of the corporation and each stockholder who
directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities ofthc

corporation
NATURE AND PERCENTAGE
NAMB AND ADDRESS T[TLE OF STOCK OWNERSHU’

 

§§

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10

22 - Former partners, ofl'teenr, directors and shareholders

a. lf the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
preceding the commencement of this case.

'NAME ADDRESS DATE OF WITHDRAWAL

b. li`the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
within one year immediaer preceding the commencement of this case.

NAME AND ADDRESS TITLE DATE OF TERMINATION

 

§§

23 . Withdrawa|s from a partnership or distributions by a corporation

If the debtor-is a partiership o'r corporation, list aII withdrawals or distributions credited or given to an insider,
including compensation in any fomt, bonuses, loans, stock rcdemptions, options exercised and any other perquisite
during one year immediately pleading the commencement of this case.

NAME & ADDRESS AMOUNT _OF MONEY
OF RECIPIEN'I`, DATE AN'D PURPOSE OR DESCRIPTION
RELAT[ONSHIP TO DEBTOR OF WI'I`HI)RAWAL AND VALUE OF PROFERTY

 

24. Tax Conaolidation Groop.

If the debtor is a corporaticn, list the name and federal taxpayer-identification number ofthe parent corporation of any
consolidated group fortaxpurposesol`which the.debtorhasbeenamemberatanytimewithmsixyeors
immediately plcceding the commencement of the cose.

NAME OF PAREN'I` CORPORATIDN TAXPAYER-IDENTIF!CAT}ON NUM`BER (EIN)

 

§§

25. Pension Funds.

If`tbe debtor is not an individual, list the name and federal taxpayer-identification number of any pension fluid to
which the dcbtor, as an employer, has been responsible for contributing at any time within six years immediately
preceding the commencement of the case.

NAME OF PENSION FUND TAXPAYER-IDEN'I'IFICA'I`iON NUMBER (E[N)

¢¢I*\.*

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f ry completed by an individual or individual and spouse l

l declare under penalty of perjury that l have read the answers contained in the foregoing statement ot` financial affairs
and any enactments thereto and that they are true and correct

 

 

Signatrrre

Date 04l29l2010 of Debtor ls)' Edgar Elrackin. Jr.
Signarure of
Joint Debtm'

Dare (if any)

 

 

 

{lyc¢mpleml rm behaqur'o powdean or crummr'm,l

l declare under penalty of perjury tha.t I have read the answers contained in the foregoing statean of financial att`airs and any attachments
thereto and that they are true and correct to the heat of my lroov\rlt.rdgel information and belief

nm sigmrme

 

Print Nsme and
T`rtle

 

[)\n individual signing on hehall`ol`a partnership or commotion rrmst indicate position or relationship to debtcr.]

_contirn.ration sheets attached

P¢rtnlryjhrmh‘rgo)bbesmm¢mj Frneo]'upta $M_Marinrpnmmrjhnp oo§yews_ cranch l!¢ UXC. §§ lj.?atrl_i'$?l

 

DECLARATION AND SIGNATURE OI" NON-A'i'l"ORNEY BANKRUPTCY PETITION PREPAR_ER {See ll U.S.C. § 1101

ldeclareunderpmaltyot`perjnrythat:(l) lamabanltruptcypetitionpreparerasdehnedin ll U.S.C. § 110;(2) Ipreperedtitiadocl.nnentt`or
compensationand haveprovidedthedcbtorudthawpyofthisdoamnmmtddtemocmmdinfommdonrcquiredmder ll U.S.C. §§ lln{b), llO(h}. and
342{b};and,(3) ifmlasorgttidclincshavebeenpromulgatcdpmarmtttoll U.S. _§Ill](h)acttingamaximuml`eeforaerviceschargmbleby
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Printed orT`ypedNarnemd Title ifmy. ofBanlcruptcy Pctition Pr_eparer Socia]-Sccurity No. (Required by l l U.S.C. § l lD.)

.§(rhe oanhoprey petition preparer r'.r nor an root vrduol. stare the rame, title (.jf awy), oddre.ar. and social-security number ofrlr¢ q§icer, principal
reagan-toole governorsl or palmer who signs this document

 

hddress

 

Signature olBankruptcy Pen'tion Preparer Date

Narnes and Sociel-Secru-ity mmrbcrs ofall other individuals who prepared oraasisted in preparing this document unlessthe bankruptcy petition preparer- is
not-an individua]:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Ol'licial Forrn for each person

A comm petition prepora"s failure to row with fireprovlstm ofrlcle ll md tie Federol Roler ofBonkrrrprcy Proceohre mary result la
fines or Wn'mnmt or bork 18 U.S.C. § lid

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B s (om¢ial Fdrm s) (12)03)

UNITED STATES BANKRUPTCY COURT
Middle District of Florida

ln re Brackin, Edgar Jr. , Case No.
Debcor Chapter 7

CHAPTER 7 INDIVTDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Parr A musr bej¢liy complexedfor EACH debt which is
secured by property ofthe estate Att’ach additional pages r_'fnecessary.)

 

 

Property No. l
Creditor's Name: Describe Property Securing Debt:
American General Financial Services homestead@?SOQ N 52nd St. Tampa, F| 33617

 

 

Property will be (check one):
El Surrendered El Retained

If retaining the prcperty, l intend to (chec.t di least one):

lj Redeem the property

iii Rcafl`trrn the debt

|:l Other. Explain (l`or example, avoid lien
using lI U.S.C. § 522(0).

Property is (check one):
Claimed as exempt El Not claimed as exempt

 

 

Propel'fy NO. 2 (§fnecessary)

 

Creditor's Name: Describe Property Securing Debt:

.James Siglin Thorn 1982 mobile home

 

 

Property will be (check one):
:l surrendered nl Rerained

If retaining the property, l intend to (check dr least one):

ij Redeem the property

rd ricaer the dear

|:l Other. Explain (f`or cxample, avoid lien
using lI U.S.C. § SZZ(D).

PI'OpetTy is (clreck one)?
CI Claimed as exempt ij Not claimed as exempt

 

 

 

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B 8 (Offir:l`a| Form 8) (iZ/'US)

UNITED STATES BANKRUPTCY COURT
Middle Disrrict ofFlorida

ln re Bfackin. Edgar Jr.

, C_ase Nc.
Debtor

Chapter 7
CHAPTER 7 lNDIVlDUAL DEB'TOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Parr A must befally completed jbr EACH debt which is
secured by properly of the estate Arraclr additional pages ifnecessary.)

 

 

Property No. l
Creditor's Namc: Descrihe Property Securing Debt:
James Sigiin S_unv 1985 mobile home

 

 

PrOpeI`ty Wili be (elreck one):
ij Surrendered Ei Retained

lf retaining the property, l intend to (clreck ar least oae):
ij Redeem the property
at seaman the debt

ij Other. Explaia (i`or example, avoid lien
using ll U.s.c. § 522(0).

Property is (checlc one):
C] Claimed as exempt C| Not claimed as exempt

 

 

Property No, 2 (ifmmsdry)

 

Creditor's Name: Describe Property Securing cht:
Jamthom investments lnc. Goid 1986 mobile home

 

 

Property will be (clreck one):
ij Surrendered iii Retained

Ii` retaining the property, I intend to (check ar leasr ong);
ij Redeem the property
ij Reai’firm the debt

i:l Other. Explain (f`or exatnplc, avoid lien
using ll U.S.C. § 522(1`)).

Pl‘Opel'ty iS (clreck orte):
El Clairned as exempt ij Not claimed as exempt

 

 

 

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B 3 {Official ann 8} (er‘OB) Page 3

CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

(Continuarr'on Sheet)

PART A - Continuation

 

 

Property No.
Creditor's Name: Deserihe Property Securing Debt;
Jamthom investments lnc BELM 1992 mobile horne

 

 

Property will be (che.¢k one):
El Surrendered El Retained

If retaining the property, l intend to (check ar least one):

lj Redeern the property

CI Reaftirrn the debt

D Other. Explain (for example, avoid lien
using ll U.S.C. § 522(f)).

Property is (clreck one):
ij Claimed as exempt l:l Not claimed as exempt

 

 

 

PART B - Continuation

 

 

 

 

 

 

 

Property No.

Lessor’s Name: Deseribe Leased Property: I.,ease will be Assumed pursuant
to ll U.S.C. § 365(p)(2):
D YES IJ NO

Property No.

Lessor’s Name: Describe Leased Property: Lease will be Assurned pursuant
to ll U.S.C. §365(p)(2):
EI YES E| NO

 

 

 

 

 

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B 8 (Officinl Fonn H) (12/'08) Page 3

CHAPTER 7 lNDIVlDUAL DEBTOR'S STATEMENT OF INTENTION

(Cominuarion Sheet)

PART A - Continuation

 

 

 

 

Property No,
Creditor's Name: Describe Property Securing Debt:
Jamthorn lnvestments lnc Liberty 1980 Mobile home
PrOp€l'fy Wiii be (eheck one)£
CI Surrcndered ii Retained

If retaining the property, l intend to (cheek ar least one):

l:l Redeem the property

|Ii Reaf’l"lrm the debt

l:l Other. Explain (for example, avoid lien
using II U.S.C. § 522(f)).

Property is (cheek one):
L'_l C|aimed as exempt ij Not claimed as exempt

 

 

 

PART B - Continuation

 

 

 

 

 

 

 

Property No.

Lessor's Name: Describe Leased Property: Lease will be Assumed pursuant
to l l U.S.C. §365('p)(2):
ij YE-S CI NO

Property No.

Lessor’s Name: Describe Leased Property: Lease will be Assumed pursuant
to ll U.S.C. § 365(p)(2):

CI YES l:l NO

 

 

 

 

 

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13 8 {Ofi'lcia] Fon'n 3} (12.’08] Page 2

PART B - Personal property subject to unexpired leases. (All three volumes afParr B must be compleredfor
each unexpired lease Attach additional pages ifnecessary.)

 

 

 

 

 

 

 

 

 

 

Property No. l

Lessor’s Name: Describe Leased Property: Lease will be Assumed pursuant
to ll U.S.C. §365(p)(2):
EI YES I:I NO

Prop€rty No. 2 ¢’§fnecesswy)

Lessor’s Name:- Describe Leased Property: Lease will be Assurned pursuant
to ll U.S.C. § 365(p)(2):
|J ¥ES El NO

Property No. 3 (r'fneeessary)

Lessor's Name: Describe Leased Property: Lease will be Assumed pursuant
to ll U.S.C. § 365(p)(2):
13 YES lJ NO

 

 

 

 

 

continuation sheets attached pfany)

l declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt andfor personal property subject to an unexpired lease.

D`ate; 4»'29;2010 iSl' Edgar Bl`ackirl, Jr.
Signature of Debtor

 

 

Signature of Joint Debtor

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n 22a roman me mi (chapt¢r 7)(04:10)

 

 

In re Brackin, Edgar..lr. Aceordingtotheinfonnmiml requiredtnbeentu'edond\issmtement
Debtor(s) (check one box as directed in Part I, l]l, or VI of this statement}:
_ 'l'he presumption nrises.
Cm Number' H._ E'l\e prmmption does not Irhe.
( k“°“'“) l°_'me presumption is temporarily inapplicable

 

 

 

CHAPTER 7 STATEI\IENT OF CURRENT MON'I'HLY INCON[E
AND MEANS-TEST CALCULATION

In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing
jointly. Unless the exclusion in Line lC applies, joint debtors may complete a single stalemmt. Ifthe exclusion in Line IC
applies, mhjoint flicr must complete a separate statement

 

Pal't I. M]LITARY AND NON-CONSULIER DEBTORS

 

IA

Disabledve¢u'nns.IfyouareadisabledvetermdescsibedindleDeclamtionindlistlA,(l)checkd)eboxatdle
beginningoftheDeclaration,(2)ehecktheboxfor“qbepresumptiondoesnotuise”atthewpofdiisswtmmmd(3)
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wavedny(asdenned in 10 u.s.c.§ lolidxly)orwhneiwaspawmwgahomamddefmsemevny (asdesned in 32
U.s.c. §901(1)).

 

lB

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lC

 

 

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B 223 (OR'lcial Fotm 22A)(Chnpmr?)(04110)

 

Part l]. CALCULATION OF MONTHLY [NCOME FOR § 707(|1)(7) EXCLUSION

 

Marita!ldlingstatns. Checlt dieboxthatapplicsandcompletethebalanceofdiispmofthis slatementasdirected.

a. unmarriee. complete only colum A (“o¢hwr's roman mr uses 3-11.

b. l:] Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
pmaltyofpexjury: “Myspouse-andlarelegal]y separated lmdcrapplicable non-bankruptcy lawormyspouseandl

2 are living apart other 1han for the purpose of evading the requirements of § 707(b)(2)(A} of the Bankrl.q:tcy Code.”
Complet`e only Colnmn A (“Debtor’s lncome") for hines 3-11.

c. l:] Married, not filing-jointly, without the declaration of separate households set out in Line 2.b above. Cmnplete both
Colnmn A (“Dehtor's Inemne”) and Cohnna B (“Sponse’s hcame”) for Llnes 3-11.

d. I:I Marricd, iiiingjointly. Complet¢ both Colnnln A (“Debtor’s Inoome”) and Colnmn B (“Sponae‘.s Income”) for

 

 

LinesS-ll.
All figures must reflect average monthly income received from all som'ws, derived during Colnnm A Cnlnmn B
thesixcalmdumondispdormiungd)ebmkmpwymse,cndingondaehstdayofdie miss Sp°u”»s

month before the filing. lfthe amount of monthly income varied dining the six months, you blume home
mustdividethesix-oummtotalbysix, andmtertl'lermultondieappropriateline.

 

3 Groas wages, slhry, tips, honnees, overtime, commissiona $ 0.00 g

 

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a. Gmss receipts $
b. Ordinary and necessary business expenses $
c. Busincss income Subtract Linc b nom Line a $ 0_00 s

 

 

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anypartoftheopemtingexpensesenteredonlanebasadednctinninhrtv.

 

 

 

 

 

 

 

 

 

 

5 a. Gross receipts $
b. Ordimry and mary operating expenses $
c. chtandotherrcalpropertyincome Subh'actLinebfmmLinea s 000
6 lnterest, dividends and royalties $ 0.00
Pension and retirement income 5 884_00

 

 

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yoln'sponseifColumnBiscomp}eted. s 0_00 $

 

 

Unemplnymmt compensation Entcr the mount in the appropriate column(s) oi`Line 9.
Howevcr, if you contend that unemployment compensation mccived byyou oryoi.n'spouse
wasabeneh"tzmdcrthesocialSecm'ityAct,donotlisttheamountofsnchcompmsatjonin
9 Col\monrB,butinswadstatethcalnomltinthespaoebelow:

Unemployment compensation claimed to
heabc¢iefit\mdcrlhesocialsecmityAct Debtor$ Spouse$

 

 

 

 

 

 

 

 

 

 

 

 

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B 22A (Omcial Ful'm ZZA) (Cha¢lcr ?} (O‘IJIU}

 

10

lncome from all other sources Specily scince and amo\mt. Ifnccmsary, list additional
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a. $
b. $
Total`andmteronLinelU s 0.00 s
l l Subt_otal of Cnrrent M¢mthly lncotne for § 707(|:|)(7)._ Add Lines 3 thru 10 in Collnnn A,
and, lf`Column B is completed, add mes 3 through 10 m Coltnrm B. Entertbc total(s). $ 884.00 s

 

 

 

12

 

Total Cnrrent Molthly lncome for§ 707(|:)(7). lfColnmn B has been completed add
Linell,ColumnAtoLincll,ColmnnB,andemerd:letotal. IfCohmmBhasnotbeen

 

 

 

 

completed com the amount from Line Il, Col\nnn A. 334-00
Part 111 APPLICATION OF § 707(|))(7) EXCLUSION
13 Annnalimd Carrent Monthly lncame for § 707(h)(7). Multiply the amount from Line 12 by the number
]2 and mm the result $ 10,608.00
Applieahlemcdian family lncome.Enterthemedianfamily incomefostheapplicahleslatcandhouschold
14 size. (Thi's information is available by family size at or from the clerk ofthe
bankmptcy court.)
a. Enter debtor‘s slate cfresidmce: Florida b. Enter debtor"s household sizc: 2 $ 52,073.00

 

15

 

Applieation of Seetion 707(b)(7). Cheek the applicable boat and proceed as directed.

notarise"atthetopofpagelofthisstatement,andcompletePartVl]I;donotcornpleteParts-IV,V,VIorVII.
[:ITheamonnton l.inel$ismorethanlheamonntonl.jne 14.Completetheremainingparlsofthisstatmnem.

 

lITheamonntonljneIS`nhasthanare_qultotheamoutonLinel-i. Checktheboxfor“'lheprasmnptiondces

 

Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

 

Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

 

]6

Enterthe amount from Line 12. $

884.00

 

17

Maritalatljastment.Ifyoucbwkedtbehoxatl..meZ.c,cnteronLine l7thetotalofanyincomel?stedin
Line ll,ColumnBthatwasNOTpaidonarcgularhasisformehouseholdcxpmsesofthedebtororthe
debtor'sdepmdents.Spedtyindiehnesbdowthebasisforexdzdingthecolunthicome(sochas
paymentoflhespouse’staxBabilitymthespouse’sstq)pmtofpusmsomerd\mdmdebunorthedebtor's
dcpendcnts)andd:eammmtofincomedevotedtocaehpurpose. lfneccssaly,listadditimadjushnentson
asepatatepage. IfyoudidnotchcckboxatLineZ.c,enwrzero.

 

 

 

 

 

 

 

 

 

 

a. $

b. $

c. $

TotalandenteronLl`ne 17. $
18 (hlrrentmnathlyinonmefor§?|)?(b)(!). SubtractLinel?&omLinelGandentu'therm $

 

 

 

Part V. CALCULATION OF DEDUCI'IONS FROM INCOME

 

Snbpart A: Dednctions under Standards of the Internal Revenne Service ([RS)

 

l9A

 

 

Natioml Staldards:food,elothingandotieritems.&nerinLine lQAthe“'I`otal”amomtfi'omlRS
Nadoml$mndmdsforFoo¢ClothingmetbultmnsfortheappEmbhhousdesize. ('l`his information
is available at orfrom die clerk ofthe bankruptcy com'l.) $

 

 

 

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BZZA (Offic'ol Form 22.\) (Chapiet 7)[04}10)

 

Nalianll Standarda:heelthcare.Enterhthie al belowmeamnm\t‘[mm[RSNationd Slandardsforfdlt-
of-PocketHealthCateforpersooslmderé§yeersofage,andinLhieaZthe[RSNationalStandm'dsforOut-
of-PocketHealdiCmeforpersons65yearsofageerol®r.(1hisinfinmationisavailableat

ornomtheclerl:ofthebankruptqrcom't.) EnterinLinehl dienumberofmembmof
yourhousehold whoaremiderGS years ofage,andmterirll.me b2thennmberofmemhersofyom
householdwhoareé$yem'sofageorolder. ('Ilietoialmnnberofhouseholdmembersmustbelhesamea¢
the numberstatedinl.ine l4b.) Multiply Line al by Line bl mobtainatmalamountforhousehold members
midet'G.‘i,andenterdieremltinLinecl. MultiplyLineaZbyLinewaobtainatotalmno¢mtforhousehold
193 mmbmssmdalda,mdmmmemamunecz AddLines¢land¢zmabminamhmm.m
mount,andentertheresu]tinLine l9B.

 

 

 

 

l:louaehold members undero&yearaoflge Holaeholtl mmbersé§yelrsofageorolder

al. Allowanee per member a2. Allowmee per member

bl. Number of members b2. Nlnnher of members

cl . Sub`laotal c2. Suhtota] $

 

 

 

 

 

 

 

 

Local Stmd.lrds: housing and utilities; non-mortgage expmaes. Enterthe amount ofthe IRS Housing and
20A Utilitiel Standards; non-mortgage expenses for the applicable county and household sim. (This information
is available at or ii'om the clerk of the bankruptcy court). $

 

totaloftheAvuageMondilyPaymentsforanydehtssecmedbyyourhome,asstatedinl.hie42;s11btraet
Linebii'oml.meaaodmtertheresultinLineZOB. Donotelteranamountlmtlluzern.

a. lRSHoilsingandUtilities Stmidards; mortgage‘rentalmcpenae $

b. AverageMonthlyPaymmtforanydebtsseunedbyyourhome,
ifany,as-statedinLine 42 5

c. Netmongagefrmtalexpmse Subu'actLinebli'omLinea. 3

 

 

205

 

 

 

 

 

 

 

 

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21 your contention in die space below:

 

 

 

 

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B ZZA (OH'lciaJ Fol'm DA} (Cl‘m|ler 7} (04~‘] 0)

 

Local Standards: transportation ownership/lose expenae; Vellicle l. Check the munber of vehicles for
which you claim an ownership/lease expense (You may not claim an ownership/lease expense for more than

twovehicles.}

|:ll mzormore.
Enter,intheabelow,the“OwnclshipCosts”for“OneCar”&omthelRSLocalStandards:Traosportation
(availableat oriiomdsecleikofdiebankmptcyoomt);entu'iuLinebdietomlofdie

23 AvemgeMondilyPaymemsforanydebtssecmedbyVehicle l,assta¢edinl..me42;sumeinebfmm
LineaandentertheremltinLineZS. Donotenteran amount|elathaumero.

 

 

 

 

a. lRS Transpm‘tation Standards, Ownership Coets $
b. Average Montbiy Payment for any debts secured by Vehicle l,
as suited in Line 42 $
c. Net ownership/lease expense for Vehicle l Suhtract line b from Line a. $

 

 

 

 

 

local Standurds: transportation ownershipllease expenae; Vehlcle 2. Compiete this Line only if you
checked the “2 or more” Box in Line 23.

Enter, inl_.ineabelow,die“Ownerahip Coets”for"OneCar"fi'omtbelRS Local Slandards:'f`ransporlation
(availablcat orii'omthecle¢kofdiebankmptcycomt);cntu'inLinebtbetotalofthe
Avemge Monlhly Payments'for my debts mcleod by Vebicle 2, as statedin Line42; subtract Line b from

24 LincaandenterdleresultinLineM. Donoteuteranamountleesthum

 

 

 

 

 

 

a-. lRS Trausportation Standards, Ownemhip Coets $
b. Average Montbly Payment forany deblssecuredby Veliicle?.,
as stated in Line 42 $
c. Net ownership/lease expense for Vehicle 2 Subtmet Line b from Liue a. s

 

 

 

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OtherNecemaryExpenses:iuvoluntarydedu¢thusfuremploymenL Enlaerdlemtalaveragemonlbly
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27 term life meieryom'self. Donet inchde premiums for lusuranceon yourdepen¢lmts,forwhole
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OtherNecemaryExpmsa:eourt-orderedpayments. Entertl\etotalmonthlyamotmttl:atyoum'e
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payments. Douotinelndepaymentsonpaatdaeohlwtlonsiucludedinlhe% $

 

29'

 

OtherNecesauy Expmaes:ehildnmEmadiewmlavuagemm\di|yammmtdmtyouaduaRycxpmdon
30 cbildcere-suchas baby-sitting,day care,nmseryandpleschool. Douotineludeottereducetional
payments. $

 

OtherNecemry Expensu: healthcare Entu'dietomlaveragemnmhlyamomnthatyouactnallyexpend
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rdmhnsmbyhmnmoe_mpddbyahedd:mvwgsawmmgmddmiswmofwemummmedm
Lioe 19B. Douot include payments forhelltl inanran'ee.or health sumnean listed il Line.'M. $

31

 

32 ammlypayfmwkwmmmim§msuvicmomathmyombahbomwhphmemdcellphmwm-
webummllwddngmliui¢spechllongdimm,mhnummdz_wmemmcessmyfa
yourhealthmdwelfaremdmtofyomdq)mdmts.honotindudeanylmountprwiomlydduded.

 

33 Total Expenses-Allnwed underlRS Standardl. Enterihetotal ofLines thlu‘ough 32. $

 

 

 

 

 

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B 226 (Ofl"lcinl Fot'm ZZA) (C.haptcr 'l) (NJIU)

 

Subpart B: Additional Li\riug Expense Deduetious
Note: Do not include any expenses that you have listed in Lines 19-32

 

Health lusurauee, Disability lusurauee, and l~lealth Savings Aeeouat Expeasea l_.istthe monthly

 

 

 

or your dependents
a. Health Insurance $
34 b. Disabilhy insurance s
c. main savings rim

 

 

 

 

 

TotalaadenteronLine34

space below:
$

expensesinthccategotiessetominlinesa'cbelowdlatare reasonably nmssaryforyomseif,yom'spouse,

lf you do not actually expend link total amount, state your actual total average monthly expenditcues in the

 

Continned contributions to tie care of household ar family members. Entu' the total average actual

35 monthlyexpmsestbatyouwillccndnuetopayfortiiereasombleaodnewsssryeareandsnpportofm

unsbletopayforsuehexpcnses.

eiderly, chronically il], or disabled member of your household or membu of your immediate family who is

 

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37 LocalSlmidardsforHotmingandUtilities,thatyouaemallyerq:endforbomemetgycosts.¥oamast

the additional amoaatdabned is reasonable and neeessary.

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pmideymrusetasteewi&dommmhdoaofyouadndupmsu,udymmustdmm&at

 

 

youactuallymem,nmwexceed$l47.92*perchd¢foradendaneeatapivatemmb&celmmrym

withdoeumentation ofyouractualapeaaes,aadyunmastexp|ahiwllythaamountelahnedis
reasonableandneeeasaryand notalreedyaeeountedforlnthelll$$tandards.

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38 secondarysdioolbyyourdependentchildrenhssman IByearsofage.Yoa mastpmvldeyourcasetrnstee

 

39 National Slandards, not to exceed 5% ofdiose combined allowances. fThis information is available st

amount claimed is reasonable and neeeasary.

Admuondfoodamdomhgupem£ntermewhlavmgemmnhlymnmmtbywhiehyomfommd
clowmgexpmsesmcwdmemmbmedabowmwsibr&mdmdclothmg(appmdandsudcs)intbelRS

orhumthede'kofdiebmhuptcycom)Youmnddemmsnatetdattheaddidond

 

cash orfinancial illeh*m'nents tca dimilabic motion as defined in 26 U.S.C. § l?O(c)(l}-{2].

40 Contlnuedc§aritahleeoutribations.Emertbcmnoimtthatyouwillcoutinuetoconm'b\neinmeformof

 

41 TotalAdditionalExpenseDeductlons\lader§?o?(b).£merthetotalofLmae34tlnm1gh40

 

 

$

 

 

*A`mounr subject to mgiasonem on WI/B, mde three years defender with respect to cases commenced m or after the date ofaaj`astmem.

 

BZZA{OH}

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ciul Fom'.l ZZA) (Chaptu' 7) (04.'10)

 

Subpart C: Deduetions for Deht Payment

 

Name of Proputy Secl.u'iog the Debt Avemge Dom payment
42 Creditor Monthly include taxes
Paymel:rt or iosl.umee?
a- $ |J yes C| no
b. $ El yes l:l no
c. $ Cl yu 13 no
Total: Add
Lines a, b and c_.

 

 

 

 

 

 

 

 

 

 

 

 

 

43

Othe_rpaymentsonseeureddabns.lfanyofdebtslistedinLine42iuesecuredbyyom*.primary

residence,amowrvdiklemodiepmputynecessmyfmywrmmpmormesupponofyomdq:mdmts,
youmayinciudeinyom-deduetion llGOmofanyamount(the“cmeamo\mt")thatyoumustpsythccmditor

amomnwouldmcludeanys\unshidefauhthatnnntbepeidinordertoavbidrepossessionorforeelosme.
Listandtotalany such amoimls indiefollowingchart. Ifnecessary, listadditionsleou'iesonaseparate

 

Nameof` PropmySec\uingtheDebt l)‘GOthoftheCm'eAmoxmt
Creditor

 

 

 

 

 

 

 

 

 

Total: AddLinesa,bmdc

 

 

 

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asprioritytax,cbildsupportmdalimmry claims,forwhicbyouwereliab|eatdiethneofyom~bauln'upmy
filing. Donotinclndeeurrentohligadoas,suehasthoaesetoatial.inez&

 

45

Chapter lSadministrative -peases. lfyouareeligibletoiileacaseunderchaguu' 13, con:lpletethe
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expense

a_ Projectedaveragemonthlychapteerlanpayment. $
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bytheExemtiveOtiiceforUnitedStamsTmstees. {Thisinfolmatinn is

 

 

 

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court.} x
c_ Averagernomhlyadmhtistrativeexpenseofchapterl3cuse Toud:MultiplyI..inaa

aandb

 

 

 

 

 

 

Total Deductions for Debt Payment. Entertbe total of Linea 42 through 45.

 

Subpart D: 'I`otal Deductioos from lueome

 

47

 

 

Totalofalldedudionslllowedunder§m(h)@).Enterdtcintalothl¢ 33,4I,and46.

 

 

 

 

 

Bm(omcmomoaewssto;pe,WSOS-CPM Doc 10 Filed 04/30/10 Page 28 of 30

 

 

 

 

 

 

Parl VI. DETERMINATION OF § 707(1))(2) PRESUN[I’TION
48 Enter the amount from Line 18 (Current monthly income for § 70'7(b)(2)) $
49 Euter the amount from L.ine 47 (Total of all deductions allowed under § 707(|))`(2))
50 mainly comm income under § m{b)(z). stem Line 49 from Lin¢ 4a and mm me ma s
51 611-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
einer the result $

 

 

luitislpresumpti)ou determhsation.Checkdieapp|icableboxandproceedaadirected.-

l:l`l‘heansouuton Line$l islesstllan $7,025*Checkd\eboxfor“1hepresmnptioodoesnotmise”atthetopofpagel
ofdiisstatem~ent,andcompletetheveriiicationinl’aitvlll.Donotcmnpletedtel'emainderofPartVl.

52 []Theamountaetfortaon linesl ignorethan$ll,?l$*.€becktheboxfor“lheplesmnptionalises”stthetopof
page l ofihis slatement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete

 

the remainder ot`Part Vl,
m The amount on Line 51 h at least $7,025*, but not more than $ll,‘725*. Complete the remainder of Part VI (Lines
53 enough 55).
53 Entcr the amount of your total non-priority unsecured debt 3

 

 

54 'rvmhola new payment mount Muniply me annum in mm 53 by me number 0.25 and mm the result s

 

S`econdary presumption determination Checktheapplicable box andprooeeda'sdirected.
I:lTheamouatonLineSlisleasthantheamouutonlineM.Checkiheboxfor“'i`bepresumptiondoesnotm'ise”at
55 mewpofpagelofdiismmem,andcompletethevu'iticationinhrtvlll.

I:I'I'neamoontonl.inesl isoqualmargrcaurthutheamoammune§t€heckd\eboxfor"lhepresumptim
arises"atthcfopofpage l ofthisstatement,aodcompletetheverificaticmiantVlll. ¥oumayaisocompietePar-t
VII.

 

 

Part VII: ADDITIONAL EXPENSE CLAIMS

 

56

Totad: AddLinesa,bandc

 

 

 

Part VIII: VERIFICATION

 

Ideclareunderpenaltyofpc{imythatmeinformstion providedinthisstatementisv'ueandcorrect. (Ifthr'sr'sajor'mcare.

 

both debtors ernst sign.)
57 uaw 04)29.¢2010 sigmon al segal Brad¢in, Jr.
wm
Date: Signanu'e:

 

 

 

 

 

 

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United States Bankruptcy Court
MIDDLE DiStriCt Of ELQBIDA ___
Iu re
Brackin, Edgar Jr. Case No.
Debtor Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEB'I`OR

1. Pursuant to 11 U.S.C. § 329(a}and Fecl. Elankr. P. 2016(b]. | certify that | am the attorney for the above~
named debtor(s) and that compensation paid to me within one year beforethe filing ofthe petition in
bankruptcy, or agreed to be paid to me. for services rendered or to be rendered on behalf of the deth r{s)
in contemplation of or in connection with the bankruptcy case isasfo||ows‘

For iegai services1 l have agreed to accept ................................... $] ] [][]

Prior to the liting of this statement l have received ............................. $1 100
0

Ba!ance D ue ......................................................... $

2. The source ofthe compensation paid to me was
il oebtor E] other (s.pecify)
3. The source of compensation to be paid to me is
l:| center |:| other (specify)

4, 5 l have not agreed to share the above-disclosed compensation with any other person unless they are
membersand associates ofmy law firm.

i:l l have agreed to share the above-disclosed compensation with a other person or personswho are not
members or amociates of my law firm. A copy of the agreement together with a list of the names of
the people sharing in the compensation. is attached.

5. in return for the above-disclosed fee, l have agreed to render legal service for all aspects of the bankruptcy
case, including:

a. Ana|ysis of the debtorsfinancial situation, and rendering advice to the debtor in determining whether
to file a petition in bankruptcy;

b. Preparation and filing of any petitionl schedules statements of affairs and plan which may be required;

c. Representation of the debtor at the meeting of creditors and continuation hearing, and any adjoumed
hearingsthereof;

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DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)

d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

e. [Other provisions as needed]

6. By agreement with the debtor{s), the above-disclosed fee does not include the following servicos:

 

CERT|FICATION

| certify that the foregoing is a complete statementh any agreement or arrangement for
payment to me for representation of the debtor(s) in this bankruptcy proceedings

4/29/2010 /s/ Belinda Noah
Da!e S§natms of Attomey

Law Offices of Dr. Belinda Noah

Name ofiaw lirm

 

 

 

 

